          Case 1:20-cv-03145-WMR Document 37 Filed 06/07/21 Page 1 of 3




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


    ESNEY DALMAR SMITH,

          Plaintiff,                                CIVIL ACTION FILE NO:

    v.                                              1:20-cv-03145-WMR

    MIDLAND CREDIT
    MANAGEMENT, INC. et al

          Defendants.



                                      ORDER

         This matter is before the Court on the Magistrate Judge’s Final Report and

Recommendation (“R&R”) [Doc. 35], which recommends that this case be

administratively closed,1 subject to the right to reopen if settlement is not

consummated. The R&R further RECOMMENDS that this matter be deemed to

have been dismissed with prejudice if neither party moves to reopen it within sixty

(60) days from the date of entry of an Order administratively closing the case. No

objections have been filed.




1
 Administrative closure is a docket-control device used by the Court for
statistical purposes. Administrative closure will not prejudice the rights of the
parties to this litigation.
                                          1
          Case 1:20-cv-03145-WMR Document 37 Filed 06/07/21 Page 2 of 3




   I.       LEGAL STANDARD

         In reviewing the R&R, the district court “shall make a de novo determination

of those portions of the report or specified proposed findings or recommendations to

which objection is made.” 28 U.S.C. § 636(b)(1). “Parties filing objections to a

magistrate’s report and recommendation must specifically identify those findings

objected to. Frivolous, conclusive, or general objections need not be considered by

the district court.” United States v. Schultz, 565 F.3d 1353, 1361 (11th Cir. 2009)

(quoting Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988)) (internal

quotation marks omitted); see also Macort v. Prem, Inc., 208 Fed.Appx. 781, 784

(11th Cir. 2006) (“It is critical that the objection be sufficiently specific and not a

general objection to the report”). If no specific objections are made or no objections

are made at all, “the appropriate standard of review for the report and

recommendation is clear error.” Lattimore v. Bank of Am., N.A., No. 1:12-CV-1776-

CAP-JSA, 2014 WL 11456272, at *1 (N.D. Ga. Feb. 10, 2014), aff'd sub nom.

Lattimore v. Bank of Am. Home Loans, 591 F. App'x 693 (11th Cir. 2015).

   II.      DISCUSSION

         Having reviewed the R&R for clear error, this Court finds none. On February

22, 2021, the parties notified the Court that they had settled the matter pending

finalization of a settlement agreement. [Doc. 32]. Accordingly, proceedings were

stayed for a period of 30 days to allow the parties to consummate their settlement

                                           2
          Case 1:20-cv-03145-WMR Document 37 Filed 06/07/21 Page 3 of 3




and dismiss the case. [Doc. 33]. That period has now expired, and the parties have

taken no further action. Neither party filed an objection to the R&R within the 14

days of service beginning March 26, 2021. This further supports the

recommendation that the case should be administratively closed for inaction.

   III.    CONCLUSION

      After considering the Final Report and Recommendation, [Doc. 35], the Court

receives the R & R with approval and adopts its findings and legal conclusions as

the Opinion of this Court. Accordingly, the case shall be CLOSED, and the matter

be deemed to have been DISMISSED with prejudice if neither party moves to

reopen it within sixty (60) days from the date of entry of this Order.

      IT IS SO ORDERED, this 7th day of June, 2021.




                                          3
